Case 2:12-cv-07925-ABC-SH Document 30-2 Filed 08/26/13 Page 1 of 5 Page ID #:169
Case 2:12-cv-07925-ABC-SH Document 30-2 Filed 08/26/13 Page 2 of 5 Page ID #:170
Case 2:12-cv-07925-ABC-SH Document 30-2 Filed 08/26/13 Page 3 of 5 Page ID #:171
Case 2:12-cv-07925-ABC-SH Document 30-2 Filed 08/26/13 Page 4 of 5 Page ID #:172
Case 2:12-cv-07925-ABC-SH Document 30-2 Filed 08/26/13 Page 5 of 5 Page ID #:173
